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                      UNITED STATES DISTRICT COURT
                                 FOR THE
                         DISTRICT OF VERMONT

HINESBURG SAND & GRAVEL COMPANY,   :
INC.,                              :
                                   :
          Plaintiff,               :
                                   :
               v.                  :                   2:95-cv-208
                                   :
CHITTENDEN SOLID WASTE DISTRICT,   :
WILLIAM LEACH, JOHN BARTLETT, JAMES:
CONDOS, DAVID EATON, THOMAS MOREAU,:
CONSTANCE PLUNKETT, CHARLES SCHWER,:
RICHARD VILLAMIL, ALBERT “SONNY”   :
AUDETTE, WILLIAM STAFFORD, RUTH    :
TAYLOR, ABRAHAM WALDSTEIN, FREDERIC:
MOODY, and ANTHONY BARBAGALLO,     :
                                   :
          Defendants.              :

                      MEMORANDUM OPINION AND ORDER

     Defendants have moved for summary judgment on Plaintiff’s

remaining state law claim in Count III of its complaint.1                  In its

Opinion and Order dated August 5, 2010, this Court retained

supplemental jurisdiction over any remaining state law claims,

and permitted Defendants to file a dispositive motion with

respect to any remaining claims.

     The facts pertaining to this motion were set forth in this

Court’s August 5 Opinion and Order, familiarity with which is

presumed, and need not be repeated here.           The facts are either

undisputed or taken in the light most favorable to Plaintiff

Hinesburg Sand & Gravel Company, Inc. (“HSG”), as the nonmoving


     1
        HSG has abandoned its abuse of process claim, Count IV.
Pl.’s Mem. in Opp’n 9, ECF No. 123.
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party.

     Summary judgment is granted “if the movant shows that there

is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.”           Fed. R. Civ. P. 56(a).

“A party asserting that a fact cannot be or is genuinely disputed

must support the assertion by . . . citing to particular parts of

materials in the record, . . . or . . . showing that the

materials cited do not establish the absence or presence of a

genuine, dispute, or that an adverse party cannot produce

admissible evidence to support the fact.”           Fed. R. Civ. P.

56(c)(1).    “The non-moving party may not rely on mere conclusory

allegations nor speculation, but instead must offer some hard

evidence showing that its version of the events is not wholly

fanciful.”    D’Amico v. City of New York, 132 F.3d 145, 149 (2d

Cir. 1998).

     The moving party is entitled to summary judgment “‘[w]here

the record taken as a whole could not lead a rational trier of

fact to find for the non-moving party.’”           Holtz v. Rockefeller &

Co., 258 F.3d 62, 69 (2d Cir. 2001) (quoting Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)).                 A

court’s role in deciding motions for summary judgment “‘is not to

resolve disputed issues of fact but to assess whether there are

any factual issues to be tried, while resolving ambiguities and

drawing reasonable inferences against the moving party.’”                  Wilson


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v. Nw. Mut. Ins. Co., 625 F.3d 54, 60 (2d Cir. 2010) (quoting

Knight v. U.S. Fire Ins. Co., 804 F.2d 9, 11 (2d Cir. 1986)).

     HSG’s remaining equal protection claim was originally

brought under Chapter I, Article 9 of the Vermont Constitution.

See Complaint ¶ 43.       It now argues that its equal protection

claim should be analyzed under Article 7's Common Benefits

Clause.     The Defendants object, contending that HSG should have

sought leave to amend its complaint to assert a new theory of

recovery.     It is unnecessary to decide, however, whether HSG’s

complaint gave adequate notice to the Defendants of a state-law

equal protection violation regardless of its source in the

Vermont Constitution, because under either Article 9 or Article 7

HSG’s claim does not survive summary judgment.

I.   Article 9

     Chapter I, Article 9 of the Vermont Constitution provides in

relevant part:

     That every member of society hath a right to be
     protected in the enjoyment of life, liberty, and
     property, and therefore is bound to contribute the
     member’s proportion towards the expence [sic] of that
     protection, and yield personal service, when necessary,
     or an equivalent thereto, but no part of any person’s
     property can be justly taken, or applied to public
     uses, without the person’s own consent, or that of the
     Representative Body, . . . nor are the people bound by
     any law but such as they have in like manner assented
     to, for their common good: and previous to any law
     being made to raise a tax, the purpose for which it is
     to be raised ought to appear evident to the Legislature
     to be of more service to community than the money would
     be if not collected.


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Vt. Const. ch. I, art. 9.     Article 9 “deals with the principle

that taxes must be proportionately assessed.”          Clark v. City of

Burlington, 143 A. 677, 680 (Vt. 1928).        It is, first of all, not

clear that HSG states a claim under Article 9.             The context of

the Proportional Contribution Clause has traditionally been the

classification of property for the purpose of taxation, or the

power to exempt from taxation, or the validity of certain methods

of taxation, or the evaluation of property for tax purposes.

See, e.g., L’Esperance v. Town of Charlotte, 704 A.2d 760, 762

n.2 (Vt. 1997) (rejecting Article 9 claim that did not involve

imposition of a tax or spending public funds); Bookstaver v. Town

of Westminster, 300 A.2d 891, 897 (Vt. 1973) (requiring that

methods of taxation operate equally upon persons taxed); Vill. of

Hardwick v. Town of Wolcott, 127 A. 886, 888 (Vt. 1925)

(approving taxation of a municipal electric plant); In re

Hickok’s Estate, 62 A. 724, 726 (1906) (upholding the imposition

of inheritance taxes); Colton v. City of Montpelier, 45 A. 1039,

1040 (1899) (confirming the right to make exemptions from

taxation).   But see Fyles v. Schmidt, 449 A.2d 962, 965 (Vt.

1982) (suggesting in dictum that plaintiffs’ Article 9 claim

challenging a district’s refusal to assume ownership and

maintenance of their sewer line corresponded to their federal

equal protection claim).

     Assuming without deciding that Article 9 applies outside the


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taxation context, “the test of validity of governmental action

under the proportional contribution clause must be the rational

basis test used for federal equal protection analysis.”

Alexander v. Town of Barton, 565 A.2d 1294, 1299 (Vt. 1989);

accord USGen New England, Inc. v. Town of Rockingham, 2003 VT

102, ¶ 15, 838 A.2d 927, 934.         As this Court has previously

determined in this case, HSG has failed to establish that there

was no rational basis for the District’s treatment.               Op. & Order

17-18, ECF No. 114.       See USGen, 2003 VT 102, ¶ 26, 838 A.2d at

938 (“Under rational basis review, [plaintiff] has the burden of

establishing that [the challenged action] cannot be reconciled

with any conceivable state of facts that might lend it

rationality.”) (internal quotation marks omitted).

      Given that HSG could not establish that the District’s

conduct violated the Equal Protection clause of the Fourteenth

Amendment, it has failed to establish an Article 9 violation.

II.   Article 7

      Chapter I, Article 7 of the Vermont Constitution provides in

relevant part:      That government is, or ought to be, instituted

for the common benefit, protection, and security of the people,

nation, or community, and not for the particular emolument or

advantage of any single person, family, or set of persons, who

are a part only of that community . . . .            Vt. Const., ch. I,

art. 7.     The Common Benefits Clause “is intended to insure that


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the benefits and protections conferred by the state are for the

common benefit of the community and are not for the advantage of

persons who are a part only of that community.”               Baker v. State,

744 A.2d 864, 878 (Vt. 1999) (quotation marks omitted); accord

USGen New England, 2003 VT 102, ¶ 28, 838 A.2d at 938.                It is

“the first and primary safeguard of the rights and liberties of

all Vermonters.”       Baker, 744 A.2d at 871.

     “Article 7 . . . require[s] a ‘more stringent’

reasonableness inquiry than . . . generally associated with

rational basis review under the federal constitution.”                Id.

Although a court will accord deference to “legislation having any

reasonable relation to a legitimate public purpose,” it must

“engage in a meaningful, case-specific analysis to ensure that

any exclusion from the general benefit and protection of the law

would bear a just and reasonable relation to the legislative

goals.”     Id. at 872.

     The first step in an Article 7 analysis is to “define that

part of the community disadvantaged by the law.”               Id. at 878.

Next is to discern “the government’s purpose in drawing a

classification that includes some members of the community within

the scope of the challenged law but excludes others.”                Id.    Last

is to consider whether the classification “bears a reasonable and

just relationship to legitimate state interests.”               Badgley v.

Walton, 2010 VT 68, ¶ 25, 10 A.3d 469, 477.


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     Assuming that HSG may bring an Article 7 claim against the

allegedly discriminatory action of a municipal district,2 it must

first be able to show that it was treated differently from others

who were similarly situated.        See OMYA, Inc. v. Town of

Middlebury, 758 A.2d 777, 781 (Vt. 2000) (entry order); Baker,

744 A.2d at 880 n. 13; State v. George, 602 A.2d 953, 956 (Vt.

1991).    Using Baker’s language, HSG must show that it was

“disadvantaged” with respect to other parts of the community.

     As discussed at length in the August 5 Opinion and Order,

HSG has no evidence that it was “disadvantaged” with respect to

otherwise similarly situated landowners or otherwise similarly

situated property.      Op. & Order 14-16.      In the absence of

evidence that HSG and others were similarly situated, HSG cannot

reach a jury on its claim of differential treatment for no

reasonable and just governmental purpose.           Accordingly, the

Defendants are entitled to summary judgment on HSG’s Article 7

claim.

     The Defendants’ motion for summary judgment, ECF No. 119, is

therefore granted.

     Case closed.



     2
        Although the Baker standard was articulated in the
context of a statutory challenge, agency action pursuant to
statute may give rise to an Article 7 claim. See OMYA, Inc. v.
Town of Middlebury, 758 A.2d 777, 781 (Vt. 2000) (entry order)
(holding that an Act 250 permit condition imposed by the
Environmental Board did not violate Article 7).

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        Dated at Burlington, Vermont this 11th day of February,
2011.


                               /s/ William K. Sessions III
                               William K. Sessions III
                               District Judge




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